      Case 2:16-cv-04499-DLR Document 276 Filed 09/28/22 Page 1 of 4



     Marc A. Pilotin
1    Regional Solicitor
2    Boris Orlov (CSBN 223532)
     Counsel for Wage and Hour
3    Hailey McAllister (CSBN 326785)
     Paige Pulley (CSBN 312596)
4    Eduard R. Meleshinsky (CSBN 300547)
     Trial Attorneys
5    Office of the Solicitor
     United States Department of Labor
6    350 S. Figueroa St., Suite 370
7    Los Angeles, California 90071-1202
     Telephone: (213) 894-5410
8    Facsimile: (213) 894-2064
9    Email: orlov.boris@dol.gov

10   Attorneys for Plaintiff Secretary of Labor
11
12   Julie E. Maurer
     LEWIS BRISBOIS BISGAARD & SMITH LLP
13
     2929 North Central Avenue, Suite 1700
14   Phoenix, AZ 85012
     Telephone: 602.385.7879
15
     Facsimile: 602.385.051
16   julie.maurer@lewisbrisbois.com
     david.clukey@lewisbrisbois.com
17
18   Peter N. Kirsanow
     Richard Hepp
19   BENESCH, FRIEDLANDER,
20   COPLAN & ARONOFF LLP
     200 Public Square, Suite 2300
21   Cleveland, Ohio 44114-2378
22   Telephone: 216.363.4500
     Facsimile: 216.363.4588
23   pkirsanow@beneschlaw.com
24   rhepp@beneschlaw.com
25   Attorneys for Defendant Arizona Logistics, Inc.,
26
     Sharon P. Stiller, pro hac vice
27   Abrams Fensterman, LLP
28
      Case 2:16-cv-04499-DLR Document 276 Filed 09/28/22 Page 2 of 4




1    160 Linden Oaks, Ste. E
     Rochester, NY 14625
2    Tel: (585) 218-9999
     Fax: (585) 218-0562
3
     Email: sstiller@abramslaw.com
4
     Michelle Ray Matheson
5
     Matheson & Matheson PLC
6
     32531 N Scottsdale Road
7    Suite 105-148
8    Scottsdale, AZ 85260
     Tel: (480) 889-8951
9    Fax: (480) 339-4538
10   Email: mmatheson@mathesonlegal.com

11   Attorneys for Defendant Parts Authority Arizona, LLC
12
13   Christopher Mason
14   Jennings, Strouss, & Salmon, P.L.C.
     One E. Washington St., Suite 1900
15   Phoenix, AZ 85004
16   Tel: (602) 262-5911
     Fax: (602) 253-3255
17   Email: johnegbert@jsslaw.com
18
     Kevin H. George, pro hac vice
19   Texas Bar No. 07805850
     Kevin H. George & Associates, PC
20
     440 Louisiana Street, Suite 1225
21   Houston, Texas 77002
     (713) 655-0200/(713) 655-9035 (Fax)
22
     kmas7656@aol.com
23
     Attorneys for Defendant Larry Browne
24
25
26
27
28
     Case 2:16-cv-04499-DLR Document 276 Filed 09/28/22 Page 3 of 4




1
2
3
4
5
6
7
8
9                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ARIZONA
10
     Martin J. Walsh, Secretary of Labor,
11   United States Department of Labor,         Case No. 2:16-cv-04499-DLR
12
                    Plaintiff,
13                                              JOINT NOTICE OF SETTLEMENT
     v.                                         IN PRINCIPLE
14
     Arizona Logistics, Inc., d/b/a Diligent
15   Delivery Systems, an Arizona corpora-
16   tion; Larry Browne, an individual; Parts
     Authority Arizona, LLC, an Arizona
17   limited liability company.

18                  Defendants.
19
20
21
22
23
24
25
26
27
28
      Case 2:16-cv-04499-DLR Document 276 Filed 09/28/22 Page 4 of 4




1           Plaintiff, Martin J. Walsh, Secretary of Labor, United States Department of Labor
2    and Defendants Arizona Logistics, Inc., d/b/a Diligent Delivery Systems, Parts Authority
3    Arizona, LLC, and Larry Browne (collectively “the Parties”) hereby notify the Court that
4    they have reached an agreement in principle to resolve the matters in controversy in this
5    case. The Parties are working to finalize the terms of the agreement in a consent judgment
6
     and will file the same for the Court’s approval and signature within 45 days. Accordingly,
7
     the Parties request that the Court vacate all remaining deadlines in this matter.
8
            RESPECTFULLY SUBMITTED this 28th Day of September 2022.
9
10                                      By:
                                                /s/ Paige Pulley
11                                              PAIGE PULLEY
12                                              Trial Attorney
                                                U.S. Department of Labor
13                                              Attorneys for Plaintiff
14
                                                /s/ Peter N. Kirsanow         .
15
                                                Peter N. Kirsanow (OH 0034196)
16                                              Richard Hepp (OH 0090448)
17                                              BENESCH, FRIEDLANDER,
18                                              COPLAN & ARONOFF LLP
                                                Attorneys for Defendant Arizona Logistics, Inc.
19                                              d/b/a Diligent Delivery Systems
20
21                                              /s/ Sharon P. Stiller .
                                                Sharon P. Stiller
22                                              Abrams Fensterman Fensterman Eisman
23                                              Formato Ferrera & Wolf LLP
                                                Attorneys for Defendant Parts Authority Ari-
24                                              zona LLC
25
26                                              /s/ Christopher Mason _
                                                Christopher Mason
27                                              Jennings Strouss & Salmon, PLC
28                                              Attorneys for Defendant Larry Browne


                                                  1
